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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
                           )
             v.            )                       Case No. 1:21-cr-00153 (RBW)
                           )
DANIEL GOODWYN,            )
                           )
                Defendant. )

                                    PROPOSED ORDER

         Upon consideration of the Defendant’s Motion to Dismiss Count 1 of the Indictment

charging violation of 18 U.S.C. Section 1512(c)(2), and for good cause shown, it is hereby

ORDERED that the Motion is GRANTED, and

       It is hereby ordered that Count One of the indictment is dismissed with prejudice.



SO ORDERED on this (date), 2022.

                                            HONORABLE REGGIE B. WALTON
                                            United States District Judge
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Dated September , 2022                              Respectfully submitted,
                                                   /s/ Joseph D. McBride, Esq.

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                               CERTIFICATE OF SERVICE

     I hereby certify on the 22nd day of September 2022, a copy of the foregoing was served

upon all parties as forwarded through the Electronic Case Filing (ECF) System.



                                            /s/ Joseph D. McBride, Esq.
                                            Joseph D. McBride, Esq.
